Case 1:16-cv-01897-RLY-DLP Document 20 Filed 08/26/16 Page 1 of 16 PageID #: 75



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 Francina Smith, individually and on     )
 behalf of all others similarly situated,)
                                         )
       Plaintiff,                        )
                                         )
       v.                                )          No.    15-cv-01897-RLY-DML
                                         )
GC Services Limited Partnership, a       )
Delaware limited partnership, GC         )
Financial Corp., a Delaware corporation, )
and DLS Enterprises, Inc., a Delaware )
corporation                              )
                                         )
       Defendants.                       )

                           PLAINTIFF’S RESPONSE IN
                 OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

        Plaintiff, Francina Smith (“Smith”), individually and on behalf of all others similarly

 situated, hereby responds to Defendants’ Motions to Dismiss, pursuant to Fed.R.Civ.P

 12(b)(1), 12(b)(2), and 12(b)(6) (Dkt. 16, 17), and states as follows:

                                       INTRODUCTION

        The Fair Debt Collection Practices Act, 15 U.S.C. §1692, et seq. (“FDCPA”),

 provides consumers with the right to dispute a debt orally, see, 15 U.S.C. §1692g(a)(3).

 In fact, the right to dispute a debt orally relates directly to the congressional intent of the

 FDCPA -- the protection of the unsophisticated consumer, who may be lacking the

 means or sophistication to dispute a debt in writing. Moreover, stating that a debt must

 be disputed in writing when, in fact, it does not, is a false, deceptive and/or misleading

 and unfair, and unconscionable, in violation of § 1692g, §1692e and §1692f of the

 FDCPA. Providing false or misleading information about the right to dispute a debt, by

 stating that all disputes must be writing, is a concrete/material injury, and confers

                                                1
Case 1:16-cv-01897-RLY-DLP Document 20 Filed 08/26/16 Page 2 of 16 PageID #: 76



 Article III standing on a consumer plaintiff.

        Defendants have moved to dismiss pursuant to Fed. R. Civ. P. Rule 12(b)(6), for

 failure to state a claim, relying on cases which have been widely criticized and rejected

 by courts in this Circuit (Dkt. 17, ¶¶ 3, 10-13, 32-34). Defendants also seek dismissal

 pursuant to Rule 12(b)(1) because they believe Plaintiff lacks Article III standing (Dkt.

 17, ¶¶ 1-2, 5-9, 16-31). Finally, Defendants DLS and GCF argue that they should be

 dismissed due to lack of personal jurisdiction (Dkt. 17, ¶¶ 3, 14-17, 35-39). Defendants

 are wrong on all counts and their motion to dismiss should be denied.

                                 FACTUAL BACKGROUND

        Defendants sent Ms. Smith a form collection letter, dated March 17, 2016,

 demanding payment of a delinquent consumer debt that she allegedly owed to

 Synchrony Bank/Sam’s Club, see, Dkt. 1-3. In pertinent part, this letter stated:

        As of the date of this letter, our records show you owe a balance of
        $3,095.00 to Synchrony Bank. If you dispute this balance or the validity of
        this debt, please let us know in writing. If you do not dispute this debt in
        writing within 30 days after you receive this letter, we will assume this debt
        is valid.

 See, Id. Section1692g(a)(3) of the FDCPA, however, imposes no such writing

 requirement, when a consumer wants to dispute a debt, see, 15. U.S.C. §1692g(a)(3).

        Plaintiff’s Complaint -- Class Action, filed on July 15, 2016, sets forth that

 Defendants GC Services, LP, (“GC”), and its general partners, GC Funding, Corp.

 (“GCF”) and DLS Enterprises, Inc. (“DLS”), violated §§1692g by falsely telling Plaintiff

 that disputes must be in writing when, in fact, an oral dispute is valid. Defendants’ letter

 also violated §1692e and §1692f of the FDPCA because the statement, that any dispute

 of the debt must be in writing, was false, deceptive and misleading, (Dkt. 1, at ¶¶9-20)



                                                 2
Case 1:16-cv-01897-RLY-DLP Document 20 Filed 08/26/16 Page 3 of 16 PageID #: 77



 and unfair, unconscionable (Dkt. 1, at ¶¶21-24).

                                        ARGUMENT

        A Rule 12(b)(6) motion tests the sufficiency of the complaint, not the merits of the

 case, see, Gibson v. City of Chicago, 910 F.2d 1510, 1520 (7th Cir. 1990). The court

 must accept the complaint’s well-pleaded factual allegations as true and draw all

 reasonable inferences in plaintiff’s favor. Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

 555-56 (2007). To survive a motion to dismiss, a complaint must contain sufficient facts

 to state a facially plausible claim to relief. Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949

 (2009). To provide a defendant with “fair notice of what the claim is and the grounds

 upon which it rests,” a complaint must provide “a short and plain statement of the claim

 showing that the pleader is entitled to relief,” see, Fed.R.Civ.P. 8(a)(2). The allegations

 of the Complaint must also plausibly suggest that the plaintiff has a right to relief and

 raise that possibility above the “speculative level”, see, Twombly, 550 U.S. at 555.

        In ruling on a Rule 12(b)(1) motion to dismiss for lack of subject matter

 jurisdiction due to lack of standing, the court accepts as true all well-pleaded allegations

 and draws all reasonable inferences in the light most favorable to the plaintiff. Retired

 Chicago Police Ass'n v. City of Chicago, 76 F.3d 856, 862 (7th Cir. 1996). The plaintiff

 bears the burden of showing that she meets the required elements of standing. Id.

 "Where standing is challenged as a factual matter, the plaintiff bears the burden of

 supporting the allegations necessary for standing with 'competent proof.'" Id., citing

 McNutt v. General Motors Acceptance Corp., 298 U.S. 178, 56 S.Ct. 780, 785, 80 L. Ed.

 1135 (1936). The Seventh Circuit has interpreted "competent proof" "as requiring a

 showing by a preponderance of the evidence, or proof to a reasonable probability,



                                               3
Case 1:16-cv-01897-RLY-DLP Document 20 Filed 08/26/16 Page 4 of 16 PageID #: 78



 that standing exists." Id.

        Once a defendant moves to dismiss pursuant to Rule 12(b)(2), for lack of

 personal jurisdiction, the Plaintiff bears the burden of establishing the existence of such

 jurisdiction, Lancer Ins. Co. v. Landers Explosives, No. 3:07-cv-00117-RLY-WGH, 2008

 U.S. Dist. LEXIS 61998, at *7-8 (S.D. Ind. July 24, 2008) (Young, J.), citing Purdue

 Research Found. v. Sanofi-Synthelabo, S.A., 338 F.3d 773, 782 (7th Cir. 2003). Then,

 the court must first decide if any material facts are in dispute and, if so, must hold an

 evidentiary hearing is to resolve them, where the plaintiff will bear the burden of

 establishing jurisdiction by a preponderance of the evidence. Id.

        Finally, claims made pursuant to the FDCPA must be evaluated using the

 unsophisticated consumer standard, see, Gammon v. GC Services, Ltd. Partnership, 27

 F.3d 1254, 1257 (7th Cir. 1994) (“[The] unsophisticated consumer standard protects the

 consumer who is uninformed, naive, or trusting, yet it admits an objective element of

 reasonableness.”); see also, Evory v. RJM, 505 F.3d 769, at 776 (7th Cir. 2007);

 Johnson v. Revenue Mgmt. Corp., 169 F.3d 1057, 1060 (7th Cir. 1999); McMahon v.

 LVNV Funding, LLC, 744 F.3d 1010, 1019-1020 (7th Cir. 2014) (describing the

 unsophisticated consumer as a person of “modest education and limited commercial

 savvy”).

        I.     Plaintiff Has Stated A Claim For Relief Pursuant to §§1692g, 1692e,
               and 1692f Of The FDPCA

        Section 1692g of the FDCPA requires that, within 5 days of Defendants’ first

 communication to a consumer, the Defendants must provide the consumer with an

 effective validation notice, i.e., notice that the consumer has 30 days after receipt of the

 notice to dispute the validity of the debt, or any portion of the debt, and seek verification


                                               4
Case 1:16-cv-01897-RLY-DLP Document 20 Filed 08/26/16 Page 5 of 16 PageID #: 79



 of it. Multiple appellate and district courts – including this Court, in Chung v. National

 Check Bureau, 2005 U.S. Dist. LEXIS 15216, at *[7] (S.D. Ind. 2005)(Young, J.) -- have

 all correctly held that the FDCPA does not require disputes of debt to be in writing to be

 valid, see e.g., Clark v. Absolute Collection Serv., 741 F.3d 487 (4th Cir. 2014); Hooks

 v. Forman, Holt, Eliades & Ravin, 717 F.3d 282 (2d Cir. 2013); Camacho v. Bridgeport

 Fin., 430 F.3d 1078 (9th Cir. 2005); Campbell v. Hall, 624 F. Supp. 2d 991, 1000 (N.D.

 Ind. 2009); Rosado v. Taylor, 324 F.Supp.2d 917 (N.D. Ind. 2004); Walters v. PDI

 Mgmt. Servs., 2004 U.S. Dist. LEXIS 13972 at [*15]-[*17] (S.D. Ind. 2004)(Tinder, J.);

 Edmonds v. Nat'l Check Bureau, Inc., 2003 U.S. Dist. LEXIS 17476 at [*10]-[*12](S.D.

 Ind. 2003)(Barker, J.); Spearman v. Tom Wood Pontiac-GMC, Inc., 2002 U.S. Dist.

 LEXIS 24389 at [*25]-[*29] (S.D. Ind. 2002)(Tinder, J.).1

        Defendants rely on authority which has been analyzed, criticized and rejected by

 this Court and other district courts within the Seventh Circuit, somehow believing that

 this Court should ignore its reasoning in Chung and, instead, embrace the minority-view

 opinion of the Third Circuit in Graziano v. Harrison, 950 F.2d 107 (3d Cir. 1991). (Dkt.



 1
   See also, Brown v. Transurban USA, 144 F. Supp. 3d 809 (E.D. Va. 2015); Busch v.
 Valarity, 2014 U.S. Dist. LEXIS 14569 (E.D. Mo. Feb. 5, 2014); In re Turner, 436 B.R.
 153, 157 (M.D. Ala. 2008); Register v. Reiner, Reiner & Bendett, 488 F.Supp.2d 143,
 147 (D. Conn. 2007); Jerman v. Carlisle, 464 F.Supp.2d 720, 725 (N.D. Ohio
 2006); Baez v. Wagner & Hunt, 442 F.Supp.2d 1273, 1276-77 (S.D.Fla.2006); Turner v.
 Shenandoah Legal Group, 2006 U.S. Dist. LEXIS 39341, at *5 (E.D.Va. 2006); Vega v.
 Credit Bureau, 2005 U.S. Dist. LEXIS 4927, at *8 (E.D.N.Y. 2005); Nasca v. GC Servs.
 Ltd. P'ship, 2002 U.S. Dist. LEXIS 16992 (S.D.N.Y. 2002); In re Risk Mgmt.
 Alternatives, Fair Debt Collection Practices Act Litig., 208 F.R.D. 493, 502 (S.D.N.Y.
 Jun. 14, 2002); In re Sanchez, 173 F.Supp.2d 1029, 1030-31 (N.D. Cal. 2001); Castro
 v. ARS National Servs., 2000 U.S. Dist. LEXIS 2618, at [*3] (S.D.N.Y. 2000); Ong v.
 American Collections Enterprise, 1999 U.S. Dist. LEXIS 409 at [*3] (E.D.N.Y.
 1999); Reed v. Smith, Smith & Smith, 1995 U.S. Dist. LEXIS 22013, at *3 (M.D.La.
 1995).

                                               5
Case 1:16-cv-01897-RLY-DLP Document 20 Filed 08/26/16 Page 6 of 16 PageID #: 80



 17, at ¶¶ 10-13, 33-34).2 To do so would to be to reject long-standing Seventh Circuit

 rules of statutory interpretation and to deny unsophisticated consumers -- the least likely

 consumers to have the means to submit a written dispute -- rights that congress

 intended to provide through enacting the FDCPA, see, Spearman, 2002 U.S. Dist.

 LEXIS 24389 at [*25]-[*26] (S.D. Ind. Nov. 4, 2002)(Tinder, J.)

        In Spearman, then-District Court Judge Tinder soundly rejected the reasoning in

 Graziano, Castillo and Sturdevant, stating:

        In interpreting a statute, courts must "look first to its language …. If that
        language is plain, our only function is to enforce it according to its terms.
        The plain meaning of a statute is conclusive unless literal application of a
        statute will produce a result demonstrably at odds with the intentions of its
        drafters." And, importantly, "where Congress includes particular language
        in one section of a statute but omits it in another section of the same Act, it
        is generally presumed that Congress acts intentionally and purposely in
        the disparate inclusion or exclusion." The Graziano court ignored these
        rules of statutory interpretation.

 Spearman, 2002 U.S. Dist. LEXIS 24389, at [*25]-[*26]3; see also, Chung, 2005 U.S.

 Dist. LEXIS 15216 at [*7] (“It is a well established rule that the inclusion of particular

 language in one section of a statute and the absence of that language in another

 section creates the presumption that Congress intended the inclusion or exclusion …


 2
     In addition to Graziano, Defendants cite Ingram v. Corporate Receivables, 2003 U.S.
 Dist. LEXIS 7475 (N.D. Ill. 2003); Jolly v. Shapiro, 237 F.Supp.2d 888 (N.D. Ill. 2002);
 Castillo v. Carter, 2001 U.S. Dist. LEXIS 2686, (S.D. Ind. 2001); Sturdevant v. Jolas,
 942 F.Supp. 426 (W.D. Wis. 1996); Blair v. Collectech Systems, 1998 U.S. Dist. LEXIS
 6173 (N.D. Ill. 1998); Flowers v. Accelerated Bureau of Collections, 1997 U.S. Dist.
 LEXIS 3354 (N.D. Ill. 1997), see, Dkt. 17, at ¶ 12. Each one of these cases has been
 criticized and rejected by subsequent district courts within the Seventh Circuit.

 3
    Defendants state that “. . . Defendants follow an interpretation of § 1692g(a)(3) which
 is consistent with the Third Circuit’s case law … “ (Dkt. 17 at ¶ 12), but Defendants were
 not attempting to collect a debt in the Third Circuit; they were attempting to collect a
 debt in the Southern District of Indiana, and need to follow the law here, which is
 decidedly against Defendants’ interpretation.

                                               6
Case 1:16-cv-01897-RLY-DLP Document 20 Filed 08/26/16 Page 7 of 16 PageID #: 81



 The weight of authority from other jurisdictions supports the court's conclusion

 [that section 1692g(a)(3) should not be interpreted to require disputes of debt to be in

 writing].”) (internal citations omitted).

        Furthermore, in Spearman the court rejected Defendants’ position and the

 assertion in Graziano that, not requiring disputes to be in writing, but requiring a writing

 under §162g(a)(4), (a)(5), and (b) would “create an incoherent statutory scheme” (Dkt.

 17, at ¶ 33), holding, instead that the lack of an in-writing requirement in 1692g(a)(3)

 was purposeful:

         [S]ubsection (a)(3) provides some protection to those consumers who
        dispute a debt but are unable to do so in writing, perhaps the very
        consumers who are more likely to be unsophisticated. Subsection (a)(3)
        places no affirmative duty on the debt collector upon notice of the
        consumer's dispute of the validity of the debt. Subsections (a)(4), (a)(5)
        and (b), however, provide greater protections to the consumer and
        obligate the debt collector to take some affirmative action upon receipt of a
        written notification or request from the consumer. Subsection (b) also
        requires the debt collector to stop collection activities until the debt
        collector undertakes a certain verification process. Thus, subsection (b)
        gives a consumer the power to halt all collection activities. It
        therefore makes logical sense for subsections (a)(4), (a)(5) and (b) to
        require written notification…This court agrees with the Graziano court that
        there are very good reasons to prefer that a dispute of a debt's validity be
        in writing. But the preference for a writing should not override Congress's
        intent as evidenced by its chosen statutory language.

 Spearman, 2002 U.S. Dist. LEXIS 24389, at [*27]-[*28].

        By conferring the right to dispute a debt orally, §1692g(a)(3) goes to the very

 congressional intent of the FDCPA: providing the right to dispute a debt to

 unsophisticated consumers, many of whom may not have the means or wherewithal to

 make a written dispute, or may be confused or intimidated by the process of formulating

 a written dispute, see also, Walters, 2004 U.S. Dist. LEXIS 13972 at [*15]-[*17]

 (following the holding of Spearman, and rejecting the holdings of Graziano, Ingram v.


                                               7
Case 1:16-cv-01897-RLY-DLP Document 20 Filed 08/26/16 Page 8 of 16 PageID #: 82



 Corporate Receivables, 2003 U.S. Dist. LEXIS 7475 (N.D. Ill. 2003), Castillo, and

 Sturdevant).

       Similarly, in Edmonds, 2003 U.S. Dist. LEXIS 17476 at [*10]-[*12], Judge Barker

 granted summary judgment in favor of the consumer as to §1692g(a)(3), agreeing with

 the holdings of Spearman, emphasizing the importance of being able to dispute orally to

 an unsophisticated consumer:

       Such a consumer, not perceiving the value of creating a "paper trail" of
       their communications, may opt to notify the debt collector by phone or in
       person of his intention to dispute a debt. A consumer who opts to use one
       of these notice methods should not be penalized by the terms of §1692g,
       lest the single provision contradict the overall purpose of the statute.

 Edmonds, 2003 U.S. Dist. LEXIS 17476 at [*11]-[*12]; see also, Rosado, 324 F.Supp.2d

 at 929 and Campbell, 624 F. Supp. 2d at 999-1000(both rejecting the holdings of

 Graziano, and echoing the holdings in Spearman, Edmonds, Rosado, Walters, Chung,

 and the Ninth Circuit’s opinion in Camacho).

       Here, Defendants’ statement that Ms. Smith had to submit any dispute in writing

 was a materially false statement, the plain meaning of which would lead any consumer,

 let alone an unsophisticated consumer, into believing that she did not have a right to

 dispute the debt orally. As such, Plaintiff has stated a claim for which the FDCPA was

 intended to provide relief and Defendant’s form collection letter violated §1692g,

 §1692e, and §1692f of the FDPCA.

       II.      Plaintiff Suffered A Material/Concrete Injury-In-Fact Due to
                Defendants’ Violations Of The FDCPA And, Thus, Has Established
                Standing To Sue.

       Defendants misread the Supreme Court’s recent remand in Spokeo, Inc. v.

 Robins, 136 S.Ct. 1540, 194 L. Ed. 2d 635, 646 (2016), and argue that Plaintiff lacks



                                             8
Case 1:16-cv-01897-RLY-DLP Document 20 Filed 08/26/16 Page 9 of 16 PageID #: 83



 Article III standing because she has not suffered a concrete/material injury in fact. The

 overwhelming majority of district and appellate courts interpreting Spokeo have found

 that the informational requirements of the FDCPA confer standing to consumers who

 have been deprived of one of its disclosures. As the U.S. Supreme Court noted in

 Spokeo:

        The violation of a procedural right granted by statute can be sufficient in
        some circumstances to constitute injury in fact. In other words, a plaintiff in
        such a case need not allege any additional harm beyond the one
        Congress has identified.

 Spokeo, 194 L. Ed. 2d at 646.

        The Court in Spokeo gave multiple examples of statutory violations that confer

 standing without proof of tangible harm, involving the plaintiff’s statutory right to

 information, see, for example, Public Citizen v. Department of Justice, 491 U.S. 440,

 449 (1989) (‘[A] plaintiff suffers an "injury in fact" when the plaintiff fails to obtain

 information which must be publicly disclosed pursuant to a statute.”); FEC v. Akins, 524

 U.S. 11, 21, (U.S. 1998) (failure to obtain information subject to disclosure under

 Federal Advisory Committee Act "constitutes a sufficiently distinct injury to provide

 standing to sue"); see also, Spokeo, 194 L.Ed 2d at 649-650 (Thomas, J. concurring),

 citing, Havens Realty Corp. v. Coleman, 455 U.S. 363, 373-374, 71 L. Ed. 2d 214, 102

 S. Ct. 1114 (1982) (violation of a plaintiff’s statutory right to truthful information about

 housing availability is a "specific injury" that confers standing).

        There is no legitimate basis to reach a different result here. To the contrary,

 appellate courts in the First and Fourth Circuit have already found, consistent with

 Public Citizen, Akins and Havens Realty, that a plaintiff has standing to sue a debt

 collector who violates the consumer’s right to information under the FDCPA, see,


                                                 9
Case 1:16-cv-01897-RLY-DLP Document 20 Filed 08/26/16 Page 10 of 16 PageID #: 84



 Pollard v. Law Office of Mandy L. Spaulding, 766 F.3d 98, 102-103 (1st Cir.

 2014)(holding that an overshadowing violation of §1692g(a)(3) of the FDCPA

 constituted statutory standing, despite the fact that the consumer plaintiff had not

 actually been misled by the letter at issue.); Church v. Accretive Health, Inc., 2016 U.S.

 App. Lexis 12414 (11th Cir. 2016)(the deprivation of statutorily required information of

 §1692g was sufficient to confer plaintiff’s standing).

        The majority of post-Spokeo district courts taking up this issue, including three

 within the Seventh Circuit, have found that consumers alleging statutory violations of the

 FDCPA have standing4, see, Lane v. Bayview Loan Servicing, 2016 U.S. Dist. LEXIS

 89258 (N.D. Ill. 2016)(Chang, J.) (plaintiff's allegation that defendant failed to effectively

 disclose information required regarding his right to dispute, pursuant to FDCPA §

 1692g, due to overshadowing by subsequent collection letters, was sufficiently concrete

 under Spokeo to confer standing); Quinn v. Specialized Loan Servicing 2016 U.S. Dist.

 LEXIS 107299 (N.D. Ill. Aug. 11, 2016)(Bucklo, J.)(finding that the plaintiffs who had

 been deprived of an informational notice required by §1692e(10) and 1692e(11) of the

 FDCPA had Article III standing despite lacking actual damages, denying the defendant’s

 motion to dismiss); Mogg v. Jacobs, 2016 U.S. Dist. LEXIS 110057 (S.D. Ill. 2016) (a


 4
   See also, Irvine v. I.C. Systems, 2016 U.S. Dist. LEXIS 99880 (D. Co. 2016)(consumer
 plaintiff stated a claim sufficient to confer standing where defendant’s collector falsely
 stated she could only remove a debt from her credit report if she paid in full, in violation
 of §1692e); Yeager v. Ocwen Loan Servicing, 2016 U.S. Dist. LEXIS 105007 (M.D. Ala.
 2016)(finding a consumer plaintiff had alleged that she suffered an injury-in-fact where a
 dunning letter failed to contain any notice of her right to dispute the debt, as well as the
 name of the creditor and the amount of the debt all in violation of §1692g); Prindle v.
 Carrington Mortg. Servs., 2016 U.S. Dist. LEXIS 108386, at *[22-42] (M.D. Fla. 2016)
 (Finding that a consumer had alleged injury-in-fact due to the defendant’s statutory
 violations of §1692e, despite the fact that she had not sufficiently alleged actual
 damages).

                                               10
Case 1:16-cv-01897-RLY-DLP Document 20 Filed 08/26/16 Page 11 of 16 PageID #: 85



 plaintiff had Article III standing in regards to her claim pursuant to §1692e of the

 FDCPA, that a collector falsely represented the legal status of a discharged debt by

 attempting to collect a debt that had been discharged in bankruptcy).

        Indeed, in a surprising lack of candor, Defendants fail to note that Defendant GC

 has already lost this argument in Florida, where a court denied its motion to dismiss for

 lack of standing regarding another faulty §1692g disclosure, see, Dickens v. GC

 Services, LP, 2016 U.S. Dist. LEXIS 94621 (M.D. Fla 2016).5 The letter at issue in

 Dickens failed to notify a putative class of consumers that a written dispute is necessary

 to trigger their rights to obtain verification of the debt and/or a copy of a judgment

 entered against them as to the debt at issue, in violation of §1692g(a)(4) and (5) see,

 Id., at *[2]; 15 U.S.C. §1692g(a)(4). The district court in Dickens held that the denial of

 information was which she was entitled to receive was a “congressionally elevated

 cognizable injury.”…“[I]n other words, a concrete injury”, see, Dickens, 2016 U.S. Dist.

 LEXIS 94621, at *[5] (internal cites to Church omitted).

        Defendants are critical of the Fourth Circuit’s holding in Church, and rely, instead,

 on a recent district court opinion in Dolan v. Select Portfolio Servicing, 2016 U.S. Dist.

 LEXIS 101201 (E.D.N.Y. 2016)(Dkt. 17, at ¶¶24-30), which involved alleged violations

 of the notice requirements of the Real Estate Settlement Procedures Act, (“RESPA”).

 The Dolan Court, citing Spokeo, distinguished Public Citizen and Akins because their

 standings protect the right to information insofar as it relates to “fundamental” public




 5
    The Dickens decision was issued on July 20, 2016; Defendants filed their motion to
 dismiss, including the Spokeo-based argument on standing that they had already lost in
 Florida, on August 12, 2016.

                                              11
Case 1:16-cv-01897-RLY-DLP Document 20 Filed 08/26/16 Page 12 of 16 PageID #: 86



 interests, whereas RESPA’s notice requirements were intended to confer a rights to

 individuals as to actual damages, see, 2016 U.S. Dist. LEXIS 101201, at *[8-9, 17].

        The Dolan holding is inapposite because the RESPA notice requirements at

 issue were not subject to the FDCPA’s unsophisticated consumer standard, as

 Defendants were here, see, Gammon, 27 F.3d 1254, 1257. Moreover, nothing in the

 Spokeo opinion suggests that statutory standing ought only be conferred when

 “fundamental”, “public” rights are involved, Spokeo, 136 S. Ct. 1540, 1549-53 (2016). In

 fact, Spokeo specifically held that “[C]ongress can create new private rights and

 authorize private plaintiffs to sue based simply on the violation of those private rights”,

 Spokeo, 136 S. Ct. 1540, 1553 (2016).

        Thus, consistent with the Supreme Court’s repeated conclusion that a violation of

 the plaintiff’s statutory right to receive information is a concrete injury by itself,

 Defendants’ failure to disclose to a consumer her right to dispute the debt orally and

 their false, unfair and/or unconscionable statement that she was required to make any

 dispute in writing, are violations of Congress’ express command and constitute a

 concrete injury that confers standing.

        III.    Based On Defendants’ Corporate Filings, Which Defendants Have
                Not Sufficiently Contradicted, Defendants GCF And DLS Are Subject
                To Personal Jurisdiction In This Court.

        Defendants argue that Defendants GCF and DLS are not subject to the personal

 jurisdiction of this Court (Dkt. 17, at ¶¶3, 14-15, 35-39; Dkt. 17-1). If Defendant GC was

 sold, as Defendants allege, then they have failed to update their state filings with the

 Indiana Secretary of State. According to the Indiana Secretary of State’s records,

 Defendant GC is a Delaware Limited Partnership with two general partners:

 Defendants GCF and DLS, see, record from the Indiana Secretary of State, last

                                                12
Case 1:16-cv-01897-RLY-DLP Document 20 Filed 08/26/16 Page 13 of 16 PageID #: 87



 accessed August 26, 2016, attached as Exhibit A. Moreover, according to GC’s own

 website, Defendant GCF is not only one of GC’s general partners, but is its managing

 partner, see, Defendant “Governance & Ethics” webpage, last accessed August 26,

 2016, attached as Exhibit B.

         Two Northern District of Illinois FDCPA cases involving these Defendants,

 Randle v. GC Servs., L.P., 25 F. Supp. 2d 849, 851 (N.D. Ill. 1998)(Gettleman, J.), and

 Peters v. AT&T, 179 F.R.D. 564, at 568-69 (N.D. Ill. 1998)(Bucklo, J.), have held that

 general principles of partnership liability would hold general partners DLS and GCF

 vicariously liable for the debt collection activities of the limited partnership, GC. Clearly,

 GC is licensed to do business here, maintains a registered agent here (Dkt. 1-1, Ex. A),

 is licensed to collect debts here (Dkt. 1-2), and, in fact, did attempt to collect a debt here

 from Ms. Smith (Dkt. 1-3). Moreover, pursuant to §1692a(6), a “debt collector” includes

 any entity who “regularly collects or attempts to collect [debts], directly or indirectly”,

 see, 15 U.S.C. §1692a(6) (emphasis added). A debt collector is liable for the FDCPA

 violations of other acting on its behalf, see, Janetos v. Fulton, Friedman & Gullace, LLP,

 825 F.3d 317 at [*16]-[*21] (7th Cir. 2016). The general partners in a limited partnership

 fit this bill for either direct or indirect collection.

         On August 9, 2016, Defendants’ counsel, Earl H. Walker, contacted Plaintiff’s

 counsel, via email, and stated that, in spite of Defendants’ public filings and its website,

 Defendant GC had been acquired by Owner Resource Group, LLC, (“OWN”) as of

 December 31, 2015, and that Defendants DLS and GCF no longer had any involvement

 with GC, along with a Businesswire.com online news article dated January 12, 2016,

 discussing the alleged sale to OWN. On August 10, 2016, Plaintiff counsel responded,



                                                   13
Case 1:16-cv-01897-RLY-DLP Document 20 Filed 08/26/16 Page 14 of 16 PageID #: 88



 asking why, if this was the case, Defendant GC had not updated its business records

 with the Indiana Secretary of State. Plaintiff’s counsel also said that his client would

 amend her complaint to remove Defendants GSF and DLS upon receipt of corporate

 records filed with state authorities. A copy of this email exchange is attached as Exhibit

 C. Instead of providing such evidence of the alleged sale, Defendants filed the instant

 motion, supported only by a self-serving affidavit, see, Dkt. 17-1.

        Therefore, absent proof that Defendants GCF and DLS are actually not general

 partners of Defendant GSC, they have been properly named as Defendants subject to

 the personal jurisdiction of this Court. As Defendants have provided no other evidence

 of this alleged sale, aside from their self-serving affidavit, their motion to dismiss

 Defendants GSF and DLS pursuant to Fed. R. Civ. P. 12(b)(2) should be denied.

                                        CONCLUSION

        For all of the above reasons, Defendants’ motion to dismiss pursuant to

 Fed.R.Civ.P. Rule 12(b)(6), 12(b)(1) and 12(b)(2) should be denied.

                                                    Francina Smith, individually and on
                                                    behalf of all others similarly situated,

                                                    By: David J. Philipps_______________
                                                    One of Plaintiff’s Attorneys
 Dated: August 26, 2016

 David J. Philipps      (Ill. Bar No. 06196285)
 Mary E. Philipps       (Ill. Bar No. 06197113)
 Angie K. Robertson (Ill. Bar No. 06302858)
 Philipps & Philipps, Ltd.
 9760 S. Roberts Road
 Suite One
 Palos Hills, Illinois 60465
 (708) 974-2900
 (708) 974-2907 (FAX)
 davephilipps@aol.com



                                               14
Case 1:16-cv-01897-RLY-DLP Document 20 Filed 08/26/16 Page 15 of 16 PageID #: 89



 John T. Steinkamp (Ind. Bar No. 19891-49)
 5218 S. East Street
 Suite E1
 Indianapolis, Indiana 46227
 (317) 780-8300
 (317) 217-1320 (FAX)
 steinkamplaw@yahoo.com




                                        15
Case 1:16-cv-01897-RLY-DLP Document 20 Filed 08/26/16 Page 16 of 16 PageID #: 90



                               CERTIFICATE OF SERVICE

        I hereby certify that on August 26, 2016 a copy of the foregoing Plaintiff’s
 Response in Opposition to Defendants’ Motion to Dismiss was filed electronically.
 Notice of this filing was sent to the following parties by operation of the Court’s
 electronic filing system. The parties may access this filing through the Court’s system.


 William S. Helfand                       bill.helfand@lewisbrisbois.com
 Lewis Brisbois Bisgaard Smith LLP
 24 Greenway Plaza
 Suite 1400
 Houston, Texas 77046

 John T. Steinkamp                        steinkamplaw@yahoo.com
 5218 S. East Street
 Suite E1
 Indianapolis, Indiana 46227


 /s/ David J. Philipps____
 David J. Philipps
 Philipps & Philipps, Ltd.
 9760 South Robert Road
 Suite One
 Palos Hills, Illinois 60465
 davephilipps@aol.com




                                            16
